
USCA1 Opinion

	




          June 28, 1994         [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 94-1162                                              JOSE FUFI SANTORI,                                Plaintiff, Appellant,                                          v.                              UNITED STATES OF AMERICA,                                 Defendant, Appellee.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                  [Hon. Juan M. Perez-Gimenez, U.S. District Judge]                                               ___________________                                 ___________________                                        Before                                Selya, Cyr and Boudin,                                   Circuit Judges.                                   ______________                                 ___________________               Celso E. Lopez on brief for appellant.               ______________               Guillermo Gil,  United States Attorney,  and Maria Hortensia               _____________                                _______________          Rios Gandara,  Assistant United  States  Attorney, on  brief  for          ____________          appellee.                                  __________________                                  __________________                 Per  Curiam.   Appellant  Jose Santori,  a natural  born                 ___________            citizen  of the United  States, appeals the  dismissal by the            United States District Court for  the District of Puerto Rico            of his request (1) for a declaratory judgment that he has the            right to  renounce his  United States citizenship  before any            federal court and become a non-citizen national of the United            States and a citizen only of Puerto Rico; (2) that the  court            set  a  date  on which  he  can  renounce  his United  States            citizenship;  and (3)  that, insofar  as the  Immigration and            Naturalization Act [INA], 8  U.S.C.   1101 et  seq., prevents                                                       __  ___            any citizen  from renouncing  his citizenship and  becoming a            non-citizen   national,    the   court   declare    the   INA            unconstitutional.                 The  district  court dismissed  this  case  for lack  of            subject-matter jurisdiction.  The Article III issues involved            raise interesting  questions, but  we are entitled  to affirm            the dismissal on the ground  that no substantial question  is            presented  on the  merits despite jurisdictional  doubts, see                                                                      ___            United  States  v. Connell,  6 F.3d  27,  29 (1st  Cir. 1993)            ______________     _______            (citing cases), and choose to  do so in this case.   Congress            has  broad  authority  over  conditions  and  procedures  for            obtaining and renouncing  citizenship, see Davis v.  District                                                   ___ _____     ________            Director, INS, 481 F. Supp.  1178, 1183-84 n.8 (D.D.C. 1979),            _____________            and  Santori  has  provided  us  with  no  authority nor  any            reasoned  argument  to  suggest  that  it  has  exceeded  the                                         -2-            constitutional limits by refusing to afford him the option he            seeks, namely,  to  renounce his  United  States  citizenship            while remaining a national of this country.                   Affirmed.  See 1st Cir. Loc. R. 27.1.                 ________   ___                                         -3-

